      Case 4:19-cv-00449-KGB Document 3 Filed 06/26/19 Page 1 of 4



                                                                              FILED
                                                                            U.S OISTRICi COURT
                                                                         EASTERN DISTR!Ci ARKANSAS
                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF ARKANSAS
                                                                              JUN 2 6 2019
                                  WESTERN DIVISION                 JAMES ~MACK, CLERK
LITTLE ROCK FAMILY PLANNING SERVICES,                              By.                       DEP CLERK
PLANNED PARENTHOOD OF ARKANSAS &
EASTERN OKLAHOMA, D/B/A PLANNED
PARENTHOOD GREAT PLAINS, STEPHANIE Ho,
M.D., and THOMAS TVEDTEN, M.D., on behalf
of themselves and their patients,

              Plaintiffs,

       V.


LESLIE RUTLEDGE, in her official capacity as
Attorney General of the State of Arkansas;
LARRY JEGLEY, in his official capacity as          CIVIL ACTION
Prosecuting Attorney of Pulaski County; MATT
DURRETT, in his official capacity as Prosecuting   Case No.//,' /qt!,,yq~~-ML.d
Attorney of Washington County; SYLVIA D.
SIMON, M.D., in her official capacity as                PLAINTIFFS' MOTION FOR
Chairman of Arkansas State Medical Board;          EXPEDITED CONSOLIDATION OR, IN
ROBERT BREVING JR., M.D., VERYL 0. HODGES,         THE ALTERNATIVE, TO GIVE NOTICE
0.0., JOHN H. SCRIBNER, M.D., OMAR T. ATIQ,               OF A RELATED CASE
M.O., RHYS L. BRANMAN, M.O., RODNEY
GRIFFIN, M.D., MRS. MARIE HOLDER, BRIANT.
HYATT, M.D., MR. LARRY D. "BUDDY" LOVELL,
TIMOTHY C. PADEN, M.O., DON R. PHILLIPS,
M.0., WILLIAM L. RUTLEDGE, and M.0., DAVID
L. STAGGS, M.D., in their official capacities as
officers and members of the Arkansas State
Medical Board, and NATHANIEL SMITH, M.D.,
M.P.H., in his official capacity as Director and
State Health Officer of the Arkansas Department
of Health,

              Defendants.
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        Plaintiffs Little Rock Family Planning Services ("LRFP"), Planned Parenthood of Arkansas

& Eastern Oklahoma, d/b/a Planned Parenthood Great Plans ("PPAEO"), Stephanie Ho, M.D., and

Thomas Tvedten, M.D., on behalf of themselves and their patients, hereby move this Court under

Rule 42(a) of the Federal Rules of Civil Procedure and General Order No. 39 for expedited

consolidation of the above-captioned action and Planned Parenthood ofArkansas & Eastern

Ok/,ahoma v. Jegley, Case No. 4:15-cv-00784-KGB (the "Jegley Litigation"), which is currently

pending before the Honorable Kristine G. Baker; or, in the alternative, to give notice of a related

case.

        As more fully explained in the accompanying brief, consolidation or an order deeming the

cases related is warranted here because (i) the two litigations involve a common set of factual

and legal issues, (ii) there are overlapping discovery issues and witnesses, and (iii) consolidation

would avoid the risk of inefficient or inconsistent rulings.

        This Motion is based upon the Complaint filed in this case, the brief filed herewith, and

Plaintiffs' concurrently filed motion for a temporary restraining order and/or preliminary injunction.

Because the three statutes that are the subject of Plaintiffs' concurrently filed Complaint are

scheduled to take effect on July 24, 2019, Plaintiffs respectfully request that this motion be heard on

an expedited basis.
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Dated: June 26, 2019

                                    Respectfully submitted,


                                     :~~~ 0-:~Qr-A_,
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                                    On Behalf of the Arkansas Civil Liberties Union
                                    Foundation, Inc.
                                    Attorney for Plaintiffs LFRP and Dr. Thomas
                                    Tveden

                                    Bettina Brownstein (AR Bar No. 85019)
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                                   On Behalf of the Arkansas Civil Liberties Union
                                   Foundation, Inc.
                                   Attorney for Plaintiffs
       Case 4:19-cv-00449-KGB Document 3 Filed 06/26/19 Page 4 of 4




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 * Motion for admission pro hac vice    Attorneys for Plaintiffs
.forthcoming
